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FILED

DEC 17 2019

CLER FRICT
EASTERN Dist FR: ALIFORNIA
BY
DEPUWY CLERA

 

IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,

 

 

 

 

Plaintiff,
v.
ROBERT A. KARMANN,
Defendant.
I,

A, Scope of Agreement.

CASENO. 2:(4-Cr- 222 FAM
PLEA AGREEMENT
DATE: DECEMBER 17, 2019

TIME: 9:15AM
COURT: HON. JOHN A. MENDEZ

INTRODUCTION

The Information in this case charges the defendant with violations of Title 18, United States

Code, Section 371—Conspiracy to Commit an Offense Against the United States and to Defraud the

United States (“Count One”), and Title 15, United States Code, Sections 77q(a) and 77x—-Securities

Fraud (“Counts Two and Three”). This document contains the complete plea agreement between the

United States Attorney’s Office for the Eastern District of California (the “government”) and the

defendant regarding this case. This Plea Agreement is limited to the United States Attorney’s Office for

the Eastern District of California and cannot bind any other federal, state, or local prosecuting,

administrative, or regulatory authorities.

B. Court Not a Party.

The Court is not a party to this Plea Agreement. Sentencing is a matter solely within the

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discretion of the Court, and the Court may take into consideration any and all facts and circumstances
concerning the criminal activities of the defendant, including activities which may not have been
charged in the Information. The Court is under no obligation to accept any recommendations made by
the government, and the Court may in its discretion impose any sentence it deems appropriate up to and
including the statutory maximum stated in this Plea Agreement.

If the Court should impose any sentence up to the maximum established by the statutes, the
defendant cannot, for that reason alone, withdraw his guilty plea, and he will remain bound to fulfill all
of the obligations under this Plea Agreement. The defendant understands that neither the prosecutor,
defense counsel, nor the Court can make a binding prediction or promise regarding the sentence he will

receive.
Il. DEFENDANT’S OBLIGATIONS

A. Guilty Plea.

The defendant will plead guilty to violating Title 18, United States Code, Section 371—
Conspiracy to Commit an Offense Against the United States and Conspiracy to Defraud the United
States (“Count One”), and Title 15, United States Code, Sections 77q(a) and 77x—-Securities Fraud
(“Counts Two and Three”). The defendant agrees that he is in fact guilty of those charges and that the
facts set forth in the Factual Basis for Plea attached hereto as Exhibit A are accurate.

The defendant agrees that this Plea Agreement will be filed with the Court and become a part of
the record of the case. The defendant understands and agrees that he will not be allowed to withdraw his
plea should the Court not follow the government’s sentencing recommendations.

The defendant agrees that the statements made by him in signing this Agreement, including the
factual admissions set forth in the factual basis, shall be admissible and useable against the defendant by
the United States in any subsequent criminal or civil proceedings, even if the defendant fails to enter a
guilty plea pursuant to this Agreement. The defendant waives any rights under Fed. R. Crim. P. 11(f)
and Fed. R. Evid. 410, to the extent that these rules are inconsistent with this paragraph or with this
Agreement generally.

1. Waiver of Indictment.

The defendant acknowledges that under the United States Constitution he is entitled to be

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indicted by a grand jury on the charges to which he is pleading guilty and that pursuant to Fed. R. Crim.
P. 7(b) he agrees to waive any and all rights he has to being prosecuted by way of Indictment to the
charges set forth in the Information. The defendant agrees that at a time set by the Court, he will sign a
written waiver of prosecution by Indictment and consent to proceed by Information rather than by
Indictment.

B. Restitution.

The Mandatory Victim Restitution Act requires the Court to order restitution to the victims of
certain offenses. The defendant agrees that his conduct is governed by the Mandatory Restitution Act
pursuant to 18 U.S.C. § 3663A(c)(1)(A)(ii) and agrees to pay the full amount of restitution to all victims
affected by this offense, including, but not limited to, the victims covered in the factual basis, victims
covered in those counts to be dismissed as part of the Plea Agreement pursuant to 18 U.S.C. §
3663A(a)(3), and other victims as a result of the defendant’s conduct for the offenses charged from the
periods through in or about November 2015 and in or about December 2018. The amount of restitution
has not yet been determined but will likely be between approximately $600 million and $1 billion.

Restitution payments shall be by cashier’s or certified check made payable to the Clerk of the
Court. |

The defendant further agrees that he will not seek to discharge any restitution obligation or any
part of such obligation in any bankruptcy proceeding.

C. Fine.

The defendant reserves the right to argue to Probation and at sentencing that he is unable to pay a
fine, and that no fine should be imposed. The defendant understands that it is his burden to affirmatively
prove that he is unable to pay a fine, and agrees to provide a financial statement under penalty of perjury
to the Probation Officer and the government in advance of the issuance of the draft Presentence
Investigation Report, along with supporting documentation. The government retains the right to oppose
the waiver of a fine. If the Court imposes a fine, the defendant agrees to pay such fine if and as ordered
by the Court, up to the statutory maximum fine for the defendant’s offense.

D. Special Assessment.

The defendant agrees to pay a total special assessment of $300 (comprised of $100 per count of

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conviction) at the time of sentencing by delivering a check or money order payable to the United States
District Court to the United States Probation Office immediately before the sentencing hearing. The
defendant understands that this Plea Agreement is voidable at the option of the government if he fails to
pay the assessment prior to that hearing.

E. Violation of Plea Agreement by Defendant/Withdrawal of Plea.

If the defendant, cooperating or not, violates this Plea Agreement in any way, withdraws his
plea, or tries to withdraw his plea, this Plea Agreement is voidable at the option of the government. If
the government elects to void the Agreement based on the defendant’s violation, the government will no
longer be bound by its representations to the defendant concerning the limits on criminal prosecution
and sentencing as set forth herein. A defendant violates this Plea Agreement by committing any crime
or providing or procuring any statement or testimony which is knowingly false, misleading, or
materially incomplete in any litigation or sentencing process in this case, or engages in any post-plea
conduct constituting obstruction of justice. Varying from stipulated Guidelines application or
agreements regarding arguments as to 18, United States Code, section 3553, as set forth in this
Agreement, personally or through counsel, also constitutes a violation of the Plea Agreement. The
government also shall have the right (1) to prosecute the defendant on any of the counts to which he
pleaded guilty; (2) to reinstate any counts that may be dismissed pursuant to this Plea Agreement; and
(3) to file any new charges that would otherwise be barred by this Plea Agreement. The defendant shall
thereafter be subject to prosecution for any federal criminal violation of which the government has
knowledge. The decision to pursue any or all of these options is solely in the discretion of the United
States Attorney’s Office.

By signing this Plea Agreement, the defendant agrees to waive any objections, motions, and
defenses that the defendant might have to the government’s decision. Any prosecutions that are not
time-barred by the applicable statute of limitations as of the date of this Plea Agreement may be
commenced in accordance with this paragraph, notwithstanding the expiration of the statute of
limitations between the signing of this Plea Agreement and the commencement of any such
prosecutions. The defendant agrees not to raise any objections based on the passage of time with respect

to such counts including, but not limited to, any statutes of limitation or any objections based on the

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Speedy Trial Act or the Speedy Trial Clause of the Sixth Amendment to any counts that were not time-
barred as of the date of this Plea Agreement. The determination of whether the defendant has violated
the Plea Agreement will be under a probable cause standard.

In addition, (1) all statements made by the defendant to the government or other designated law
enforcement agents, or any testimony given by the defendant before a grand jury or other tribunal,
whether before or after this Plea Agreement, shall be admissible in evidence in any criminal, civil, or
administrative proceedings hereafter brought against the defendant; and (2) the defendant shall assert no
claim under the United States Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal
Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal rule, that statements made by
the defendant before or after this Plea Agreement, or any leads derived therefrom, should be suppressed.
By signing this Plea Agreement, the defendant waives any and all rights in the foregoing respects .

F. Asset Disclosure.

The defendant agrees to make a full and complete disclosure of his assets and financial
condition, and will complete the United States Attorney’s Office’s “Authorization to Release
Information” and “Financial Affidavit” within twelve (12) weeks from the entry of the defendant’s
change of plea, including supporting documentation. The defendant also agrees to have the Court enter
an order to that effect. The defendant understands that if he fails to complete truthfully and provide the
described documentation to the United States Attorney’s office within the allotted time, he will be
considered in violation of the Agreement, and the government shall be entitled to the remedies set forth
in section II.E above, above.

G. Agreement to Cooperate.

The defendant agrees to cooperate fully with the government and any other federal, state, or local
law enforcement agency, as directed by the government. As used in this Plea Agreement, “cooperation”
requires the defendant: (1) to respond truthfully and completely to all questions, whether in interviews,
in correspondence, telephone conversations, before a grand jury, or at any trial or other court
proceeding; (2) to attend all meetings, grand jury sessions, trials, and other proceedings at which the
defendant’s presence is requested by the government or compelled by subpoena or court order; (3) to

produce voluntarily any and all documents, records, or other tangible evidence requested by the

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government; (4) not to participate in any criminal activity while cooperating with the government; and
(5) to disclose to the government the existence and status of all money, property, or assets, of any kind,
derived from or acquired as a result of, or used to facilitate the commission of, the defendant’s illegal
activities or the illegal activities of any conspirators.

iil. THE GOVERNMENT’S OBLIGATIONS

A. Dismissals/Other Charges.

The government agrees not to bring any other charges arising from the conduct outlined in the
Factual Basis attached hereto as Exhibit A. The government also agrees not to reinstate any dismissed
count except if this Agreement is voided as set forth herein, or as provided in paragraphs II.E (Violation
of Plea Agreement by Defendant/Withdrawal of Pleas), III.B.3 (Reduction of Sentence for Cooperation),
VLB (Estimated Guideline Calculation), and VII.B (Waiver of Appeal and Collateral Attack) herein.

B. Recommendations.

1. Incarceration Range.

The government will recommend that the defendant be sentenced to the low end of the

applicable guideline range as determined by the Court at sentencing.
2. Acceptance of Responsibility.

The government will recommend a two-level reduction (if the offense level is less than 16) or a
three-level reduction (if the offense level reaches 16) in the computation of his offense level if the
defendant clearly demonstrates acceptance of responsibility for his conduct as defined in U.S.S.G. §
3E1.1. This includes the defendant meeting with and assisting the probation officer in the preparation of
the pre-sentence report, being truthful and candid with the probation officer, and not otherwise engaging
in conduct that constitutes obstruction of justice within the meaning of U.S.S.G § 3C1.1, either in the
preparation of the pre-sentence report or during the sentencing proceeding.

3. Reduction of Sentence for Cooperation.

The government agrees to recommend at the time of sentencing that the defendant’s sentence of
imprisonment be reduced by up to 50% of the applicable guideline sentence if he provides substantial
assistance to the government, pursuant to U.S.S.G. § 5K1.1. The defendant understands that he must

comply with paragraphs II.G and not violate this Plea Agreement as set forth in paragraph ILE herein.

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The defendant understands that it is within the sole and exclusive discretion of the government to
determine whether the defendant has provided substantial assistance.

The defendant understands that the government may recommend a reduction in his sentence of
less than 50% or no reduction at all; depending upon the level of assistance the government determines
that the defendant has provided.

The defendant further understands that a motion pursuant to U.S.S.G. § 5K1.1 is only a
recommendation and is not binding on the Court, that this Plea Agreement confers no right upon the
defendant to require that the government make a § 5K1.1 motion, and that this Plea Agreement confers
no remedy upon the defendant in the event that the government declines to make a § 5K1.1 motion. In
particular, the defendant agrees not to try to file a motion to withdraw his guilty plea based on the fact
that the government decides not to recommend a sentence reduction or recommends a sentence
reduction less than the defendant thinks is appropriate.

If the government determines that the defendant has provided further cooperation within one
year following sentencing, the government may move for a further reduction of his sentence pursuant to
Rule 35 of the Federal Rules of Criminal Procedure.

C. Use of Information for Sentencing.

The government is free to provide full and accurate information to the Court and Probation,
including answering any inquiries made by the Court and/or Probation and rebutting any inaccurate
statements or arguments by the defendant, his attorney, Probation, or the Court. The defendant also
understands and agrees that nothing in this Plea Agreement bars the government from defending on
appeal or collateral review any sentence that the Court may impose.

IV. ELEMENTS OF THE OFFENSE

The parties agree that, as charged in Count One of the Information, a person may violate 18
U.S.C. § 371 in more than one way, both by conspiring to (i) commit an offense against the United
States; and (ii) to defraud the United States. At a trial, the government would have to prove beyond a
reasonable doubt the following elements of the separate violations of 18 U.S.C. § 371 to which the
defendant is pleading guilty.

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1. 18 U.S.C. § 371—-Conspiracy to Commit an Offense Against the United States
(Count One).

Although not elements of Conspiracy to Commit an Offense Against the United States, in
violation of 18 U.S.C. § 371, the elements of the underlying criminal offense (Wire Fraud, in violation

of 18 U.S.C. § 1343) are:

a. The defendant knowingly participated in a scheme or plan to defraud, or a scheme or plan
for obtaining money or property by means of false or fraudulent pretenses,
representations, or promises;

b. The statements made or facts omitted as part of the scheme were material; that is, they
had a natural tendency to influence, or were capable of influencing, a person to part with
money or property;

Cc. The defendant acted with the intent to defraud; that is, the intent to deceive or cheat; and

d. The defendant used, or caused to be used, an interstate wire communication to carry out
or attempt to carry out an essential part of the scheme.

Thus, to convict the defendant at trial on the charge of Conspiracy to Commit an Offense
Against the United States, in violation of 18 U.S.C. § 371 (Count One), the government would have to
prove beyond a reasonable doubt that:

a. Beginning at least as early as in or about March 2011, and ending in or about December
2018, there was an agreement between two or more people to commit wire fraud as
charged in the Information;

b. Second, the defendant became a member of the conspiracy knowing of at least one of its
objects and intending to help accomplish it; and

c. One of the members of the conspiracy performed at least one overt act for the purpose of
carrying out the conspiracy.

2. 18 U.S.C. § 371—Conspiracy to Defraud the United States (Count One).

To convict the defendant at trial on the charge of Conspiracy to Defraud the United States, in
violation of 18 U.S.C. § 371 (Count One), the government would have to prove beyond a reasonable
doubt that:

a. Beginning at least as early as in or about March 2011, and ending in or about December
2018, there was an agreement between two or more people to defraud the United States
by obstructing the lawful functions of the Internal Revenue Service by deceitful or
dishonest means as charged in the Information;

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b. Second, the defendant became a member of the conspiracy knowing of at least one of its
objects and intending to help accomplish it; and

c. One of the members of the conspiracy performed at least one overt act for the purpose of
carrying out the conspiracy.

3. 15 U.S.C. §§ 77q(a) and 77x—Securities Fraud (Counts Two and Three).

To convict the defendant at trial on the charge of Securities Fraud, in violation of 15 U.S.C. §§

77q(a) and 77x (Counts Two and Three), the government would have to prove beyond a reasonable

doubt that:

a. The defendant offered or sold securities as described in the Information;

b. In the offer or sale of these securities, the defendant made use of any means or
instruments of transportation or communication in interstate commerce or made use of
the United States mails; and

c. In the offer or sale of these securities, the defendant willfully, knowingly, and

deliberately did at least one of the following:
(i) employed any device, scheme, or artifice to defraud;

(ii) obtained money by means of any untrue statements of material facts or omitted
statements of material facts necessary in order to make the statements made, in light
of the circumstances under which they were made, not misleading; or

(iii) engaged in a transaction, practice, or course of business that operated or would
operate as a fraud or deceit upon the purchasers.

The defendant fully understands the nature and elements of the crimes charged in the
Information to which he is pleading guilty, together with the possible defenses thereto, and has
discussed them with his attorney.

V. MAXIMUM SENTENCE

A. Maximum Penalties.

1. 18 U.S.C. § 371—Conspiracy to Commit an Offense Against the United States and

to Defraud the United States (Count One).

The maximum sentence that the Court can impose on Count One is 5 years of incarceration, a
fine of $250,000, a 3-year period of supervised release and a special assessment of $100. By signing

this Plea Agreement, the defendant also agrees that the Court can order the payment of restitution for the

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full loss caused by the defendant’s wrongful conduct. The defendant agrees that the restitution order is
not restricted to the amounts alleged in the specific count to which he is pleading guilty. The defendant
further agrees, as noted above, that he will not attempt to discharge in any present or future bankruptcy
proceeding any restitution imposed by the Court.

2. 15 U.S.C. §§ 77q(a) and 77x—Securities Fraud (Counts Two and Three).

The maximum sentence that the Court can impose on each of Counts Two and Three is 5 years
of incarceration, a fine of $250,000, a 3-year period of supervised release and a special assessment of
$100. By signing this Plea Agreement, the defendant also agrees that the Court can order the payment
of restitution for the full loss caused by the defendant’s wrongful conduct. The defendant agrees that the
restitution order is not restricted to the amounts alleged in the specific count to which he is pleading
guilty. The defendant further agrees, as noted above, that he will not attempt to discharge in any present
or future bankruptcy proceeding any restitution imposed by the Court.

B. Violations of Supervised Release.

The defendant understands that if he violates a condition of supervised release at any time during
the term of supervised release, the Court may revoke the term of supervised release imposed on each
Count and require the defendant to serve up to 2 additional years imprisonment.

VI. SENTENCING DETERMINATION

A. Statutory Authority.

The defendant understands that the Court must consult the Federal Sentencing Guidelines and
must take them into account when determining a final sentence. The defendant understands that the
Court will determine a non-binding and advisory guideline sentencing range for this case pursuant to the
Sentencing Guidelines and must take them into account when determining a final sentence. The
defendant further understands that the Court will consider whether there is a basis for departure from the
guideline sentencing range (either above or below the guideline sentencing range) because there exists
an aggravating or mitigating circumstance of a kind, or to a degree, not adequately taken into
consideration by the Sentencing Commission in formulating the Guidelines. The defendant further

understands that the Court, after consultation and consideration of the Sentencing Guidelines, must

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impose a sentence that is reasonable in light of the factors set forth in 18 U.S.C. § 3553(a).

B.

Stipulations Affecting Guideline Calculation.

The government and the defendant agree that there is no material dispute as to the following

sentencing guidelines variables and therefore stipulate to the following:

(i) Count One: 18 U.S.C. § 371—Conspiracy to Commit an Offense Against the United
States and to Defraud the United States.

1.

Base Offense Level: The base offense level for the charges to which the defendant is

pleading guilty is 6. See U.S.S.G. §§ 2X1.1(a); 2B1.1(a)(2).

2.

will be 40.

Specific Offense Characteristics:

a. Thirty levels are added (+30) because the loss attributable to the defendant during
the time period of his knowing involvement in the conspiracy and within the scope
of his knowing involvement exceeded $550,000,000. U.S.S.G. § 2B1.1(b)(1)(P).

b. Two levels are added (+2) because the offense involved 10 or more victims. Id. at

(b)(2)(A).

c. Two levels are added (+2) because the offense involved sophisticated means and
the defendant intentionally engaged in or caused the conduct constituting
sophisticated means. Id. at (b)(10)(C).

d. No three level reduction, under U.S.S.G. § 2X1.1(b)(2), is required because the
defendant or a co-conspirator completed all the acts the conspirators believed
necessary on their part for the successful completion of the substantive offense.

Preliminary Offense Level: The parties anticipate that the preliminary offense level

Chapter Three Adjustments:

The parties disagree about whether two levels should be added because the defendant
was an organizer, leader, manager, or supervisor in any criminal activity, pursuant to
U.S.S.G. § 3B1.1. Accordingly, the parties reserve the right to argue to the Court the
proper application of U.S.S.G. § 3B1.1, as set forth below:

The government will argue that two levels are added (+2) because the defendant was an
organizer, leader, manager, or supervisor in any criminal activity pursuant to §
3B1.1(c). The defendant may argue that he was not an organizer, leader, manager, or
supervisor in any criminal activity and no role adjustment is applicable under § 3B1.1.

Two levels are added (+2) because the defendant abused a position of private trust in a
manner that significantly facilitated the commission or concealment of the offense.
U.S.S.G. § 3B1.3.

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5. Adjusted Offense Level: Given the stipulations above, if the Court agrees with the
United States concerning application of U.S.S.G. § 3B1.1, the specific offense level will be 44. If the
Court agrees with the defendant concerning application of U.S.S.G. § 3B1.1, the specific offense level
will be 42.
(ii) Count Two: 15 U.S.C. §§ 77q(a) and 77x—Securities Fraud.

1. Base Offense Level: The base offense level for the charges to which the defendant is
pleading guilty is 6. See U.S.S.G. § 2B1.1(a)(2).
2. Specific Offense Characteristics:

a. Thirty levels are added (+30) because the loss attributable to the defendant during the
time period of his knowing involvement in the scheme and within the scope of his
knowing involvement exceeded $550,000,000. U.S.S.G. § 2B1.1(b)(1)(P).

b. Two levels are added (+2) because the offense involved 10 or more victims. Id. at

(b)(2)(A).

c. Two levels are added (+2) because the offense involved sophisticated means and the
defendant intentionally engaged in or caused the conduct constituting sophisticated
means. Id. at (b)(10)(C).

3. Preliminary Offense Level: The parties anticipate that the preliminary offense level
will be 40.
4. Chapter Three Adjustments:

a. The parties disagree about whether two levels should be added because the defendant
was an organizer, leader, manager, or supervisor in any criminal activity, pursuant to
U.S.S.G. § 3B1.1. Accordingly, the parties reserve the right to argue to the Court the
proper application of U.S.S.G. § 3B1.1, as set forth below:

The government will argue that two levels are added (+2) because the defendant was an
organizer, leader, manager, or supervisor in any criminal activity pursuant to §
3B1.1(c). The defendant may argue that he was not an organizer, leader, manager, or
supervisor in any criminal activity and no role adjustment is applicable under § 3B1.1.

b. Two levels are added (+2) because the defendant abused a position of private trust in a
manner that significantly facilitated the commission or concealment of the offense.
US.S.G. § 3B1.3.

5. Adjusted Offense Level: Given the stipulations above, if the Court agrees with the

United States concerning application of U.S.S.G. § 3B1.1, the specific offense level will be 44. If the

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Court agrees with the defendant concerning application of U.S.S.G. § 3B1.1, the specific offense level

will be 42.

(iii)Count Three: 15 U.S.C. §§ 77q(a) and 77x—Securities Fraud.

1.

Base Offense Level: The base offense level for the charges to which the defendant is

pleading guilty is 6. See U.S.S.G. § 2B1.1(a)(2).

2.

a.

will be 40.

5.

Specific Offense Characteristics:

Thirty levels are added (+30) because the loss attributable to the defendant during the
time period of his knowing involvement in the scheme and within the scope of his
knowing involvement exceeded $550,000,000. U.S.S.G. § 2B1.1(b)(1)(P).

Two levels are added (+2) because the offense involved 10 or more victims. Id. at

(b)(2)(A).

Two levels are added (+2) because the offense involved sophisticated means and the
defendant intentionally engaged in or caused the conduct constituting sophisticated
means. Id. at (b)(10)(C).

Preliminary Offense Level: The parties anticipate that the preliminary offense level

Chapter Three Adjustments:

The parties disagree about whether two levels should be added because the defendant
was an organizer, leader, manager, or supervisor in any criminal activity, pursuant to
U.S.S.G. § 3B1.1. Accordingly, the parties reserve the right to argue to the Court the
proper application of U.S.S.G. § 3B1.1, as set forth below:

The government will argue that two levels are added (+2) because the defendant was an
organizer, leader, manager, or supervisor in any criminal activity pursuant to §
3B1.1(c). The defendant may argue that he was not an organizer, leader, manager, or
supervisor in any criminal activity and no role adjustment is applicable under § 3B1.1.

Two levels are added (+2) because the defendant abused a position of private trust in a
manner that significantly facilitated the commission or concealment of the offense.
U.S.S.G. § 3B1.3.

Adjusted Offense Level: Given the stipulations above, if the Court agrees with the

United States concerning application of U.S.S.G. § 3B1.1, the specific offense level will be 44. Ifthe

Court agrees with the defendant concerning application of U.S.S.G. § 3B1.1, the specific offense level

will be 42.

PLEA AGREEMENT 13

 
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6. Grouping Multiple Counts:

a. The Counts in the Information to which the defendant is pleading guilty may be
grouped together under U.S.S.G. § 3D1.2(d).

b. The offense level applicable to the grouped Counts is either 42 or 44 (depending on
the Court’s determination concerning the application of U.S.S.G. § 3B1.1), which is
the offense level corresponding to the aggregate quantity of loss, determined in
accordance with Chapter Two and Parts A, B, and C of Chapter Three of the
Sentencing Guidelines. See U.S.S.G. § 3D1.3(b).

c. Three levels are subtracted (-3) if the defendant pleads guilty, accepts responsibility
for his offense, and the Specific Offense Level is above 16. U.S.S.G. § 3E1.1; see
also Part III.B.2 above.

2. Adjusted Offense Level: Given the stipulations above, the parties anticipate that the
adjusted offense level will be either 39 or 41 (depending on the Court’s determination concerning the
application of U.S.S.G. § 3B1.1).

3. Criminal History: The parties agree and stipulate that the applicable criminal history
will be determined by the Court’s probation officers. The parties estimate but do not stipulate that the
defendant’s criminal history category will be I, and that the Guidelines sentencing range will be no
less than 262 to 327 months in prison if the Court finds that the Adjusted Offense Level is 39, or 324
to 405 months in prison if the Court finds that the Adjusted Offense Level is 41. In any event, the
parties agree that the sentence range will be subject to the maximum statutory sentence possible for the
offenses of conviction. The defendant understands that if his criminal history category differs from
the parties’ estimate, his Guidelines sentencing range may differ from that set forth here.

C. Departures or Other Enhancements or Reductions.

The parties agree that they will not seek or argue in support of any other specific offense
characteristics, Chapter Three adjustments (other than the decrease for “Acceptance of Responsibility”),
or cross-references, except that the government may move for a departure or an adjustment based on the
defendant’s cooperation (§5K1.1) or post-plea obstruction of justice (§3C1.1). Both parties agree not to
move for, or argue in support of, any departure from the Sentencing Guidelines, or any deviance or
variance from the Sentencing Guidelines under United States v. Booker, 543 U.S. 220, 125 S.Ct. 738
(2005).

PLEA AGREEMENT 14

 
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The defendant also agrees that the application of the United States Sentencing Guidelines to his
case results in a reasonable sentence and that the defendant will not request that the Court apply the
sentencing factors under 18 U.S.C. § 3553 to arrive at a different sentence than that called for under the
Sentencing Guidelines’ advisory guideline range as determined by the Court. The defendant
acknowledges that if the defendant requests or suggests in any manner a different sentence than what is
called for under the advisory guideline range as determined by the Court, that will be considered a
violation of the Plea Agreement. The government’s remedies and remaining obligations in this
Agreement shall be as outlined in paragraph ILE, above.

Notwithstanding the above, at sentencing, the defendant may argue, under 18 U.S.C. § 3553(a) -
and U.S.S.G. § 5G1.2 only, in support of the imposition of concurrent sentences on Counts Two and
Three only. That is, the defendant agrees not to argue that the total punishment required under U.S.S.G.
§ 5G1.2, is less than 120 months, before application of any reduction recommended by the government
pursuant to any motion under U.S.S.G. § 5K1.1. The government may oppose any such argument and
argue that the total punishment required under U.S.S.G. § 5G1.2 is 180 months, before application of
any reduction recommended by the government pursuant to any motion under U.S.S.G. § 5K1.1.

VIL. WAIVERS

A. Waiver of Constitutional Rights.

The defendant understands that by pleading guilty he is waiving the following constitutional
rights: (a) to plead not guilty and to persist in that plea if already made; (b) to be tried by a jury; (c) to
be assisted at trial by an attorney, who would be appointed if necessary; (d) to pursue any affirmative
defenses, Fourth Amendment or Fifth Amendment claims, constitutional challenges to the statutes of
conviction, and other pretrial motions that have been filed or could be filed; (e) to subpoena witnesses to
testify on his behalf; (f) to confront and cross-examine witnesses against him; and (g) not to be
compelled to incriminate himself.

B. Waiver of Appeal and Collateral Attack.

The defendant understands that the law gives the defendant a right to appeal his guilty plea,
conviction, and sentence. The defendant agrees as part of his plea, however, to give up the right to

appeal the guilty plea, conviction, and the sentence imposed in this case as long as the sentence does not

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exceed the statutory maximum for the offenses to which he is pleading guilty, including if the Court
imposes consecutive terms on Counts One through Three. The defendant understands that this waiver
includes, but is not limited to, any and all constitutional and/or legal challenges to the defendant’s
conviction and guilty plea, including arguments that the statutes to which the defendant is pleading
guilty are unconstitutional, and any and all claims that the statement of facts attached to this Agreement
is insufficient to support the defendant’s plea of guilty. The defendant specifically gives up the right to
appeal any order of restitution the Court may impose.

Notwithstanding the defendant’s waiver of appeal, the defendant will retain the right to appeal if
one of the following circumstances occurs: (1) the sentence imposed by the District Court exceeds the
statutory maximum for all Counts; and/or (2) the government appeals the sentence in the case. The
defendant understands that these circumstances occur infrequently and that in almost all cases this
Agreement constitutes a complete waiver of all appellate rights.

In addition, regardless of the sentence the defendant receives, the defendant also gives up any
right to bring a collateral attack, including a motion under 28 U.S.C. § 2255 or § 2241, challenging any
aspect of the guilty plea, conviction, or sentence, except for non-waivable claims.

Notwithstanding the government’s agreements in paragraph III.A above, if the defendant ever
attempts to vacate his plea, dismiss the underlying charges, or modify or set aside his sentence on any of
the counts to which he is pleading guilty, the government shall have the rights set forth in Section II.E
herein.

C. Waiver of Attorneys’ Fees and Costs.

The defendant agrees to waive all rights under the “Hyde Amendment,” Section 617, P.L. 105-
119 (Nov. 26, 1997), to recover attorneys’ fees or other litigation expenses in connection with the
investigation and prosecution of all charges in the above-captioned matter and of any related allegations
(including without limitation any charges to be dismissed pursuant to this Plea Agreement and any
charges previously dismissed).

D. Impact of Plea on Defendant’s Immigration Status.

The defendant recognizes that pleading guilty may have consequences with respect to his

immigration status if he is not a citizen of the United States. Under federal law, a broad range of crimes

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are removable offenses, including offenses to which the defendant is pleading guilty. The defendant and
his counsel have discussed the fact that the charges to which the defendant is pleading guilty is an
aggravated felony, or a crime that is likely to be determined to be an aggravated felony under 8 US.C. §
1101(a)(43), and that while there may be arguments that the defendant can raise in immigration

proceedings to avoid or delay removal, it is virtually certain that the defendant will be removed.

Removal and other immigration consequences are the subject of a separate proceeding, however, and the
defendant understands that no one, including his attorney or the district court, can predict to a certainty
the effect of his conviction on his immigration status. The defendant nevertheless affirms that he wants
to plead guilty regardless of any immigration consequences that his plea may entail, even if the
consequence is his automatic removal from the United States.
Vit. ENTIRE PLEA AGREEMENT

Other than this Plea Agreement, no agreement, understanding, promise, or condition between the
government and the defendant exists, nor will such agreement, understanding, promise, or condition
exist unless it is committed to writing and signed by the defendant, counsel for the defendant, and
counsel for the United States.
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PLEA AGREEMENT 17

 
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IX. APPROVALS AND SIGNATURES
A. Defense Counsel.
I have read this Plea Agreement and have discussed it fully with my client. The Plea Agreement
accurately and completely sets forth the entirety of the agreement. I concur in my client’s decision to
plead guilty as set forth in this Plea Agreement.

Dated: 1 +/17 [ze] Ln PR
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fr / MILES EHRLICH
Attorney,for Defendant

B. Defendant:

I have read this Plea Agreement and carefully reviewed every part of it with my attorney. I
understand it, and I voluntarily agree to it. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines that may apply to my
case. No other promises or inducements have been made to me, other than those contained in this Plea

Agreement. In addition, no one has threatened or forced me in any way to enter into this Plea

 

Agreement. Finally, I am satisfied with the representation of omey in this case.
Dated: [ te —_———
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| 4 ROBEWT A. KARMANN
Defendant

C. Attorney for United States:

I accept and agree to this Plea Agreement on behalf of the government.

Dated: McGREGOR W. SCOTT
(| It | alt United{States Attorney

  
  

AND . ESPINGSA
Assistant United States Attorney

PLEA AGREEMENT 18

 
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EXHIBIT “A”
Factual Basis for Plea

IL Background

A. The conspirators operate a $2.5 billion Ponzi scheme causing $1 billion in loss.

From December 2009 through January 2019, Individual 1 and Individual 2, husband and wife,
owned and operated two closely related business entities, Company S and Company D (collectively “the
Company”). During nearly all of that period, the Company operated a Ponzi scheme that defrauded
investors of approximately $1 billion through material misrepresentations and omissions related to the
offer and sale of investments designed to generate profit and trigger significant tax benefits for investors.
Between approximately 2016 and February 2019, the headquarters for the Company was located in
Benicia, California, in the Eastern District of California. Defendant, Robert A. Karmann, was a certified
public accountant and began working with the Company in approximately August 2014.

B. The Company sells MSGs to generate profit and to trigger tax benefits.

Directly and through subcontractors, the Company built mobile solar generators (“MSGs”),
consisting primarily of solar panels placed on a wheeled-trailer. Company D purported to lease those
MSGs to third parties, including negotiating lease agreements and collecting payments. Individual 1 and
others acting at his direction touted the versatility of MSGs, and claimed there was a substantial market
demand for MSGs.

The Company, through Individual 1, his co-conspirators, and others acting at their direction,
solicited money from investors to purchase MSGs. A primary claim made to investors was that the
purchase of MSGs carried favorable tax consequences in addition to a profit stream. The tax benefits
included tax credits available for investment in alternative energy sources that permitted purchasers to
claim tax credits of up to 30% of the total investment, and permitted deductions for the depreciation of
MSGs over a 5-year period. These tax benefits were significant.

The Company structured transactions with investors to maximize the tax benefits. Among other
deals, the Company sold MSGs to limited liability companies created specifically for such transactions.
These companies were investment funds, sometimes called tax-equity funds, permitted under the federal

tax code (“Funds”).

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C. Transaction financing structure and the materiality of promised lease revenue.

Through the Funds, investors purchased MSGs from Company S for $150,000 per MSG.
Typically, investors paid approximately $45,000 per MSG in cash—approximately 30% of the overall
unit price—and financed the balance with Company S. The $45,000-per-unit price was the maximum
amount of the tax credit investors could claim per unit. The transactions were structured so investors
could immediately claim a dollar-for-dollar tax credit for the total they paid in cash to Company S, per
MSG. Investors could also claim depreciation for each MSG, for five years. To complete the
transactions, the Funds delivered promissory notes to pay Company S the remaining approximately 70%
of the sales prices over time. The Company promised to pay off the investors’ note obligations with
revenues generated by the lease of MSGs by Company D to third parties.

Pursuant to offers pitched to investors by Individual 1, his co-conspirators, and others acting at
their direction, the Funds leased the MSGs purchased in each transaction to Company D, which
purported to lease the MSGs to third parties. Company D was supposed to receive money from those
third parties through lease payments. After deducting certain fees, Company D was to transfer the
majority of the lease revenue to accounts for the Funds. The manager of the investment funds was to
use the lease revenue sent by Company D to pay the periodic obligations on the notes held by Company
S, with a small monthly profit paid to investors. !

The purported lease revenue from third parties was a material component of the transactions.
First, that projected lease revenue was a factor in valuing the MSGs at $150,000 per unit. Second, the
lease revenue was the mechanism for the Funds to pay the remaining approximately 70% of the
purchase price for the MSGs. Based on sales pitches by Individual 1, his co-conspirators, and others
acting at his direction, investors were primarily interested in the tax benefits offered through each
transaction and not actual ownership of the MSGs. However, because the tax credits were capped at

30% of the value of the overall transaction, paying anything more than 30% of that value would

 

' The Company also closed a variant of these tax-equity transactions that did not include financing through
Company S. Rather, in those sale-leaseback transactions, investors purchased MSGs outright, or relied on outside
financing. In other material respects, the transactions mirrored the primary tax-equity transactions, including the
management of third-party lease contracts by Company D, availability of post-transaction tax benefits, and a
profit stream. Instead of using third-party lease revenue to pay a note obligation to Company S, the purported
revenue was paid to the investor.

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diminish the tax benefits—i.e., the investors would pay more than the value of the tax credits. By
paying off the 70% balance of the purchase price through revenue generated by leases Company D
promised to generate from third parties, investors maximized the tax benefits without incurring more
debt or cost. Failure of that mechanism after investors executed transactions would result in default on
the notes, collapse of the transactions, and failure of the tax credits.
D. Purportedly independent certification of the construction and operation of MSGs.
Because the Company promised to lease MSGs associated with each transaction to third
parties—through Company D—with little direct participation from the Funds or investors, the Funds and
investors did not take physical possession of those MSGs. Rather, the Company represented to the
Funds and investors that it built MSGs for each transaction and those MSGs operated in a manner
consistent with regulations governing application of the tax credits the investors sought. The Company
made those representations through written Commissioning Reports, purportedly prepared by an
independent engineer after a multi-point inspection of each MSG in each transaction. Individual 1, his
co-conspirators, and others acting at their direction caused those Commissioning Reports to include
materially false information and to be delivered to investors. In some instances, investors required
completed Commissioning Reports as conditions for payment to support the transactions. In other
instances, Individual 1 and his co-conspirators delivered the Commissioning Reports after payment to
lull investors to believe their MSGs existed and operated as required under the terms of the transactions.
E. Approximate investments and tax benefit totals associated with the transactions.
Between March 2011 and December 18, 2019, at least twelve investors entered into transactions
with the Company through approximately thirty-four Funds. Some investors invested through more than
one Fund. The investors, through the Funds, collectively deposited by interstate wire transfer
approximately $759,000,000 into bank accounts for the Funds established for the transactions. Further,
several financial institutions and other investors transferred collectively $136,000,000 to the Company
as part of related transactions for the purchase and lease of MSGs. In total, the Company closed
transactions with Funds and others involving approximately 17,000 MSGs, at approximately $2.5 billion

in purported value.

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Many investors have claimed tax credits and depreciation in connection with the transactions
premised on the revenue allegedly being earned by Company D’s leases of the MSGs to third parties.
Those investors include those invested through, among others: Fund, Fund 3, Fund 4, Fund 5, Fund 6,
Fund 7, Fund 8, Fund 10, Fund 11, Fund 12, Fund 14, Fund 15, Fund 16, Fund 17, Fund 18, Fund 19,
Fund 20, Fund 21, Fund 22, Fund 23, Fund 24, Fund 26, Fund 27, Fund 28, Fund 29, Fund 30, Fund 31,
Fund 32, USBDCS Fund 1, USBDCS Fund 2, Fund Holding 9. The tax value of the tax credits and
depreciation claimed by the Funds, up to and including the 2017 tax year, is approximately
$902,000,000. This figure does not account for approximately $167,000,000 that investors paid into tax
equity transactions in 2018.

F. Operation of the “flip” deals that followed the tax equity transactions.

The Company structured nearly all of the tax-equity transaction so the investors owned 99% of
the associated Fund and the fund manager owned 1% of the Fund. After five years, the ownership
structure flipped, with the fund manager owning 95% of the Fund and the investors owning 5%. After
five years, investors had the option of selling their 5% ownership interest in the Fund to the fund
manager, and divesting their ownership interest in the MSGs. This appealed to many investors because,
after five years, they could extract no further tax benefit from ownership of the MSGs.

At the end ofa five-year term of a tax-equity transaction, the Company would arrange to sell
certain existing MSGs from those transactions to buyers in “flip” deals. In one such transaction,
Individual 1, his co-conspirators, and others acting at their direction brokered a “flip” deal with A-Group
and K Bank. As part of that transaction, K Bank provided $27 million to A Group, a private equity
group, to finance the purchase of approximately 416 MSGs that were owned by two Funds through
earlier tax-equity transactions. The $27 million from K Bank represented approximately 80% of the
overall transaction. A Group investors contributed the balance of the purchase price. The deal was -
completed through a special purpose entity called S-Sense.

Individual 1, his conspirators, and others acting at their direction represented to A Group and K

 

* At the request of a party to the associated investment transaction, or a representative of that party, the IRS
assigned Employer Identifications Numbers (“EIN”) to Funds 33 through 36. Certain of those Funds, including
Fund 33, closed transactions with the Company, however, none has filed Fund tax returns with the IRS claiming
tax benefits.

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Bank that the 416 MSGs were leased to Telecom Company A as part of an approximately 10-year fixed
amount contract between Telecom Company A and Company D. After the sale, S-Sense leased the
MSGs back to Company D to continue leasing them to Telecom Company A as part of the purported
existing contract between them. Thereafter, the Company assigned purported lease revenue generated
by that lease with Telecom Company A to S-Sense as a revenue and profit stream.

G. The Company’s tax equity transactions were fraudulent.

Bank records, witness interviews, and other evidence, revealed that Individual | and his co-
conspirators knowingly misrepresented the existence of lease revenue from third parties—an integral
component in all of the Company’s transactions—and caused others to unwittingly do so. In particular,
the conspirators claimed Company D generated tens of millions of dollars in lease revenue from third
parties leases, from long-term and short-term agreements with third parties.

In truth, Individual 1 and his co-conspirators operated the Company as a massive Ponzi scheme.
Over 90% of the money Company D claimed as lease revenue and which it used to pay the Funds’ note
obligations and other payments to investors was actually derived from transfers of cash contributed to
Company S by later investors in tax-equity and other transactions. Company S had nearly no other
significant sources of revenue. Company S was the primary source of income for Company D,
providing no less than approximately 94% of all of the purported revenue Company D claimed. Thus,
the Company merely paid obligations due to older investors with money raised from those investors and
later investors—contrary to representations to investors made by Individual 1, his co-conspirators, and
those acting at their direction, that third-party lease revenue would pay those obligations. Certain of
Company D’s existing third-party lease agreements were supported with separate side-agreements
pursuant to which Company S paid investor money to third parties, which the third parties returned in
the form of lease revenue. The conspirators concealed the absence of third-party lease revenue from
investors through, among other means, false financial statements they knowingly shared with investors.

The defendant and many of his co-conspirators knew it was a violation of the tax laws to falsely
claim tax credits and depreciation. However, as part of the scheme, they intended for investors to claim
such tax benefits, to which they knew the investors were not entitled because of the false nature of the

supporting tax equity transactions and the false information they gave investors. That outcome was a

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goal of the scheme and a primary method by which the conspirators encouraged investments and
bolstered confidence in their false claims to investors.

H. The A Group/K Bank “flip” deal transaction was fraudulent.

The A Group/K Bank “flip” was also a fraud. Contrary to representation made by Individual 1,
his co-conspirators, and others acting at their direction, the purported fixed-term lease between Telecom
Company A and Company D that supported the transaction was false. Rather, certain as-needed leases
with Telecom Company A generated only a fraction of the millions in annual revenue Individual | and
his co-conspirators claimed supported the A Group/K Bank deal. The overwhelming majority of that
purported revenue derived from intercompany transfers of tax-equity investor money from Company S
to Company D. In support of the transaction, and in furtherance of the fraud, Individual 5 knowingly
caused a fraudulent estoppel agreement to be delivered to A Group/K Bank in support of the transaction,
which purported to assign lease revenue to A Group/K Bank, when that lease agreement and the
purported revenue associated with it did not exist.

I. The December 2018 searches and asset seizures, the Company’s bankruptcy, and
the MSG audit by investor-victims.

In December 2018, law enforcement agents executed search warrants at the Company’s
headquarters and elsewhere. Agents also executed over 150 asset seizure warrants, resulting the seizure
of approximately $60,000,000 in assets derived from the fraud. During execution of those warrants,
agents found approximately $1.7 million in cash in Individual 1’s office safe and over $150,000 in cash
in other locations throughout the office suite. Inside the chief financial executive’s office, agents found
an investor presentation and marketing documents, as well as internal financials for Company D’s
performance in November 2018 and December 2018. Agents also interviewed employees, at least one
of whom provided information about the Company’s structure and evidence of the ongoing fraud.

Following execution of those warrants, the Company entered bankruptcy in or about February
2019. Thereafter, certain investor-victims financed an independent audit of the existence and location of
all MSGs based on information that the Company had not built the total number of MSGs it represented
to investors were part of the tax-equity transactions. The audit produced evidence of the existence of

approximately only 6,000 MSGs from approximately 17,000 MSGs associated with sales to Funds in

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approximately thirty-four tax-equity transactions. Among others, none of the approximately 2,280
MSGs associated with Fund 29, involving over $100,000,000 in cash paid by an investor in or about
May 2017, were located in the investor-victim audit. Additionally, only approximately eighty-three of
the 2,279 MSGs associated with Fund 33, involving more than $90,000,000 in cash paid by the same
investor in or about July 2018, were located in the investor-victim audit.

I. Facts Describing Defendant’s Involvement in the Scheme

A. Karmann joined the conspirators’ existing conspiracy to defraud investors.

Defendant Robert A. Karmann (“Karmann”) knowingly joined the conspiracy to defraud the
Company’s investors and the Internal Revenue Service (“IRS”) and furthered it through overt acts to
mislead investors about material facts and cause them to pursue and accept tax benefits to which they
were not entitled. Karmann was a certified public accountant and worked at the Company first as its
Controller and, later, as its Chief Financial Officer (“CFO”). Before his employment with the Company,
Karmann worked for co-conspirator Ronald J. Roach (“Roach”) at Roach’s accounting practice, between
2013 and 2014, where Karmann assisted Roach with work for the Company, among other matters.

The conspiracy was underway by the time Karmann began working at the Company, in 2014.
Roach explained to Karmann the Company’s accounting and bookkeeping, including the Ponzi-like
payments from Company S to Company D. Karmann initially viewed those intercompany transfers as
subsidies to cover shortfalls of a startup company. However, Karmann soon recognized that Company
D was earning virtually no third-party lease revenue to meet its obligations to the Funds. Karmann
became numb to Company D’s failure, and rationalized it by concluding that so long as investors were
paid what they were owed, the investors were not being harmed. Between at least November 2015 and
early 2016, Karmann recognized that executives and others associated with the Company were making
false representations to investors and misleading investors about the Company’s operation and
bookkeeping, including its reported revenue, causing investors to pursue through the Funds, tax benefits
from the IRS to which they were not entitled because of the false nature of the claimed revenue
supporting the transactions. Instead of revealing to investors Company D’s failure to earn claimed third-

party lease revenue, Karmann joined the conspiracy and worked to conceal the fraud from investors.

PLEA AGREEMENT A-7

 
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Among other duties, in his roles at the Company, Karmann was responsible for facilitating and
overseeing the intercompany transfers of funds from Company S to Company D, which he and other
conspirators fraudulently misrepresented to investors as third-party lease revenue. On multiple
occasions between 2016 through 2018, Karmann spoke to Individual 1, Individual 5, and Roach about
the unsustainability of the Ponzi-like transfers from Company S$ to support Company D. In those
conversations, Individual 1 and the others would put Karmann off and tell him “it’s coming.”
Nevertheless, between 2016 and December 18, 2018, month after month, Karmann facilitated or
oversaw the transfers of funds from Company S to Company D, which he knew he and his co-
conspirators were misrepresenting to investors as third-party revenue. Karmann also delivered and
caused to be delivered, to Roach, financial information for Company D, which both knew was false.
Roach used that false information to prepare tax returns and associated tax documents for certain of the
Funds, which those Funds used to pursue and obtain tax benefits to which they were not entitled. In
other limited instances, certain Funds prepared or had prepared tax returns and associated tax documents
without Roach’s involvement but based on false financial information provided by or at the direction of
the conspirators.

Karmann also knew that audited financial statements for Company D, as opposed to compiled
financial statements, would reveal the absence of earned third-party lease revenue and expose the
intercompany transfers and the fraud. Whenever an investor or other party sought an audited financial
statement for Company D, Karmann discussed the request with Individual 1, who answered that they
would provide audited financial statements later, when Company D had sufficient revenue to support its
obligations. Individual 1 stated that when the Company finally provided audited financial statements for
Company D, investors would understand the Company did what it had to do to survive as a startup.
Acting to conceal and advance the fraud, on or about November 18, 2015, Karmann delivered complied
financial statements for Company D to an investor representative for multiple Funds knowing they
falsely represented transfers of money from Company S as third-party lease revenue earned by Company
D in 2014.

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PLEA AGREEMENT A-8

 
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B. Individual 2 controlled external transfers of Company funds, including certain
transfers from Company S to two third-party entities, which were structured to
create the appearance of third-party lease revenue paid to Fund 9.

While Karmann controlled internal Company transfers, he lacked authority to make external
payments using Company funds. Instead, Individual 2 handled those external transfers. Among other
such external transfers, Individual 2 managed transfers from the Company to two third-party entities, K-
Systems and A-Rentals. Those entities were equipment management companies that purportedly leased
more than 600 total MSGs purchased by investors in Fund 9.* Individual 1 arranged for the Company to
pay K-Systems and A-Rentals periodic lease amounts each owed to investors in Fund 9, which K-
Systems and A-Rentals paid as purported third-party lease revenue. Individual | stated that the
Company agreed to pay the lease obligations as a favor because K-Systems and A-Rentals were unable
to rent MSGs as expected. Individual 1 instructed Karmann not to disclose the arrangement to others.

C. Karmann delivered false information about the location and lease revenue
purportedly earned by MSGs sold to investors in Fund 6 and Fund 12.

On several occasions in 2015 and 2016, Karmann knowingly and willfully delivered reports and
other records to representatives of investors in Fund 6 and Fund 12 that contained affirmatively false
information. Those deliveries were intended to conceal the conspirators’ fraud and to lull investors in
those Funds into the belief that MSGs they purchased were deployed in specific locations and earning
third-party lease revenue, which was false in nearly every case. Specifically, on or about February 23,
2016, Karmann delivered by email written operation reports to investors in Fund 12, which falsely
represented that MSGs sold to Fund 12 were leased to a third-party entity and earning income from that
third-party entity during the second, third, and fourth quarters of 2015. On or about February 25, 2016,
Karmann delivered by email written operation reports and summaries of mobile facilities to investors in
Fund 6, which falsely represented that MSGs sold to Fund 6 were leased to a third-party entity and
earning income from that third-party entity during the second, third, and fourth quarters of 2015. On or
about May 13, 2016, Karmann delivered by email a written operation report and summary of mobile

facilities to investors in Fund 6, which falsely represented that MSGs sold to Fund 6 were leased to a

 

> Unlike other transactions the Company completed, MSGs sold to Fund 9 were leased directly to third-party
entities and not to Company D for sublease.

PLEA AGREEMENT A-9

 
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third-party entity and earning income from that third-party entity during the first quarter of 2016. In the
same email, Karamann also delivered a written operation report to investors in Fund 12, which falsely
represented that MSGs sold to Fund 12 were leased to a third-party entity and earning income from that
third-party entity during the first quarter of 2016.

Karmann also delivered other affirmatively false information to representatives of investors in
Fund 6 and Fund 12. Specifically, on or about May 12, 2016, Karmann delivered by email to investors
in those Funds a written summary that asserted Company D earned sufficient excess rent from third-
party leases of MSGs owned by Fund 6 and Fund 12 to pay investors in those Funds a profit in 2015. In
fact, no such excess rent was earned and no profit was due from such excess rent.

D. Karmann’s conduct and that of his co-conspirators caused interstate wires.
Karmann agrees that his conduct discussed herein, and that of his co-conspirators, caused
interstate wire communications, including the above-discussed emails, which Karmann agrees travelled
from his office in California to the office of a representative of Fund 6 and Fund 12 in Phoenix, Arizona.

Karmann also agrees his conduct and that of his co-conspirators caused interstate Fedwire deposits of
money from the investor-victim in the Fund 30 transaction, P Company, based in Ohio, to bank accounts

in California controlled by the Company, among others, as set forth below:

 

 

   

 

 

 

 

 

 

Company Bank _| Account No. Date | | Deposit Amount | Payor

H Bank 1 5773XXX 5/17/2017 $15,063,692 |P Company
H Bank 5773 XXX 7/20/2017 $10,224,225 P Company
H Bank 5773 XXX 8/24/2017 $10,224,225 P Company
H Bank 5773 XXX 8/29/2017 $10,224,225 P Company
H Bank 5773 XXX 9/25/2017 $10,224,225 P Company

 

 

 

 

 

 

 

 

I have read and carefully reviewed the Factual Basis for Plea with my attorney. I agree that as it concerns my
conduct it is correct. I also agree that if this matter proceeded to trial, the United States could establish each of
the facts contained within the Factual Basis for Plea beyond a rea. le doubt, and that those facts satisfy the
elements of the offense to which I am pleading guilty.

Dated: pole 1

Vol
ROBERT A.!4KARMANN
Defendant

 

PLEA AGREEMENT A-10

 

 
